                 Case 2:22-cv-00633-JNW Document 70 Filed 11/02/23 Page 1 of 3




 1                                                              The Honorable Jamal N. Whitehead
 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8

 9   THE DUWAMISH TRIBE and CECILE
     HANSEN, in her capacity as Chairwoman of           No. 22-cv-00633
10
     the Duwamish Tribal Council of the
11   Duwamish Tribe,                                    ORDER GRANTING PLAINTIFFS’
                                                        MOTION TO FILE OVERLENGTH
12                                      Plaintiffs,     BRIEFS ON SUMMARY JUDGMENT

13          v.
14   DEB HAALAND, in her official capacity as
     U.S. Secretary of the Interior, BRYAN
15
     NEWLAND, in his official capacity as
16   Assistant Secretary for Indian Affairs, U.S.
     DEPARTMENT OF THE INTERIOR,
17   BUREAU OF INDIAN AFFAIRS, OFFICE
     OF FEDERAL ACKNOWLEDGMENT, and
18   UNITED STATES OF AMERICA,
19                                   Defendants.
20

21          This matter comes before the Court on Plaintiffs’ Motion to File Overlength Briefs on
22   Summary Judgment (“Motion”). Dkt. No. 68. The Court, having considered the Motion and
23   supporting materials filed by Plaintiffs, hereby GRANTS the Motion.
24

25

26

     ORDER GRANTING MOTION TO FILE OVERLENGTH                                        K&L GATES LLP
     BRIEFS ON SUMMARY JUDGMENT                                                     925 FOURTH AVENUE
                                                                                         SUITE 2900
     CASE NO. 22-CV-00633-JNW - 1                                              SEATTLE, WASHINGTON 98104-1158
                                                                                  TELEPHONE: +1 206 623 7580
                                                                                  FACSIMILE: +1 206 623 7022
              Case 2:22-cv-00633-JNW Document 70 Filed 11/02/23 Page 2 of 3




 1          The Court hereby adopts the following extended brief lengths on summary judgment:

 2
                                   Brief            Expanded Page Limits
 3
                          Plaintiffs’ MSJ          70 pages
 4
                          Defendants’ Cross-
 5                                                 70 pages
                          MSJ/Response
 6
                          Plaintiffs’
                                                   30 pages
 7                        Response/Reply

 8                        Defendants’ Reply        30 pages

 9                        Total (per party)        100 pages

10

11          IT IS SO ORDERED.
12          DATED this 2nd day of November, 2023.
13

14

                                                      A
15

16                                                    Jamal N. Whitehead
                                                      United States District Judge
17

18

19

20   PRESENTED BY:
21   K&L GATES LLP
22

23
     By:    s/ Shelby R. Stoner
24         Bart J. Freedman, WSBA # 14187
           Theodore J. Angelis, WSBA # 30300
25         J. Timothy Hobbs, WSBA # 42665
           Benjamin A. Mayer, WSBA # 45700
26

     ORDER GRANTING MOTION TO FILE OVERLENGTH                                     K&L GATES LLP
     BRIEFS ON SUMMARY JUDGMENT                                                  925 FOURTH AVENUE
                                                                                      SUITE 2900
     CASE NO. 22-CV-00633-JNW - 2                                           SEATTLE, WASHINGTON 98104-1158
                                                                               TELEPHONE: +1 206 623 7580
                                                                               FACSIMILE: +1 206 623 7022
              Case 2:22-cv-00633-JNW Document 70 Filed 11/02/23 Page 3 of 3




 1        Endre M. Szalay, WSBA # 53898
          Shelby R. Stoner, WSBA # 52837
 2        Natalie J. Reid, WSBA # 55745
 3        Courtney A. Neufeld, WSBA # 60154
          925 Fourth Avenue
 4        Suite 2900
          Seattle, Washington 98104-1158
 5        Tel: +1 206 623 7580
          Fax: +1 206 623 7022
 6        Emails: bart.freedman@klgates.com
 7        theo.angelis@klgates.com
          tim.hobbs@klgates.com
 8        ben.mayer@klgates.com
          endre.szalay@klgates.com
 9        shelby.stoner@klgates.com
          natalie.reid@klgates.com
10        courtney.neufeld@klgates.com
11
     Attorneys for Plaintiffs
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     ORDER GRANTING MOTION TO FILE OVERLENGTH                          K&L GATES LLP
     BRIEFS ON SUMMARY JUDGMENT                                       925 FOURTH AVENUE
                                                                           SUITE 2900
     CASE NO. 22-CV-00633-JNW - 3                                SEATTLE, WASHINGTON 98104-1158
                                                                    TELEPHONE: +1 206 623 7580
                                                                    FACSIMILE: +1 206 623 7022
